 JS 44 (Rev. 06/J 7)
                                                         l
                                   Case 2:17-cv-04682-PBT Document 1 Filed 10/19/17 Page 1 of 9
                                                                                   CIVIL COVER SHEET
 The JS 44 civil cover sheet and the formation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 I .. (a L PLAINTIFFS
 LISa'Trotfo
                                                                                                                                                                                      17
      (b)   County of Residence of First Listed Plaintiff                                                                     County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINT/ 'F CASES)                                                                                            {IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                              NOTE:        JN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED.

      (C)   Attorne:i'.s (Firm Name. Address, and Telepho e Numb .F)                                                           Attorneys (If Known)
 Antranig Ganbian, Esq. Garibian Law 0 1c , PC
 1800 JFK Blvd, Suite 300, Philadelphia,  19103
 215-326-9179 ag@garib" nl w.com
 II. BASIS OF JURIS                              N {Place an "X" in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                         (For Diversity Cases Only)                                                       and One Box for Defendant)
0 I      U.S. Government                          Federal Question                                                                                 PTF           DEF                                                     PTF      DEF
            Plaintiff                               (US. Government Not a Party)                                    Citizen of This State         0 1            0 I       Incorporated or Principal Place                  0 4     0 4
                                                                                                                                                                             of Business In This State

0 2      U.S. Government                   0 4    Diversity                                                         Citizen of Another State             0 2     0     2   Incorporated and Principal Place                 a   5   a    5
            Defendant                               {Indicate Citizenship of Parties in Item Ill)                                                                             of Business In Another State

                                                                                                                                                         0 3     0     3   Foreign Nation                                   a   6   a    6



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IV NATURE OF SUIT (Place an "X" in One Box Only)

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0     120 Marine                       0    310 Airplane                     0 365 Personal Injury -                        of Property 21     use 881     0 423 Withdrawal                               0 376 Qui Tam (31 USC
0     130 Miller Act                   0    315 Airplane Product                    Product Liability               0 690 Other                                  28 USC 157                                      3729(a))
0     140 Negotiable Instrument                  Liability                   0 367 Health Care/                                                                                                           0 400 State Reapportionment
0     150 Recovery of Overpayment      0    320 Assault, Libel &                   Pharmaceutical                                                           dl~•:•~E:R .                      o#!
                                                                                                                                                                                                          a 410 Antitrust
           & Enforcement of Judgment             Slander                           Personal Injury                                                         0 820 Copyrights                               0 430 Banks and Banking
0     I51 Medicare Act                 0    330 Federal Employers'                 Product Liability                                                       0 830 Patent                                   0 450 Commerce
0     152 Recovery of Defaulted                  Liability                   0 368 Asbestos Personal                                                       0 835 Patent - Abbreviated                     0 460 Deportation
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           Student Loans               0    340 Marine                              Injury Product                                                                   New Drug Application                   4 70 Racketeer Influenced and
           (Excludes Veterans)         0    345 Marine Product                     Liability                                                               0 840 Trademark                                       Corrupt Organizations
0     I 53 Recovery of Overpayment               Liability                    PERSONAL PROPERTY                                           ·~   .             -· .•• ·'.l!i'    •!                         0 480 Consumer Credit
           of Veteran's Benefits       0    350 Motor Vehicle                0 370 Other Fraud                      0 710 Fair Labor Standards             0 861 HIA (l 395ft)                            0 490 Cable/Sat TV


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0     160 Stockholders' Suits          0    355 Motor Vehicle                0 37I Truth in Lending                         Act                            0 862 Black Lung (923)
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                                                                                                                                                              865 "'°
0     195 Contract Product Liability   0    360 Other Personal                     Property Damage                           Relations                                                         ther Statutory Actions
0     196 Franchise                             Injury                       0 385 Property Damage                  0   740 Railway Labor Act              a0 ""        Tido""'
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I ' L..ARlYBl'RnPE'RTY, ;.;;/ 1" 44 ' CIVIL :RIC!iMS . w.                    '. PRISOlliERfPl¥l'l'l'IONS            0   790 Other Labor Litigation           FEDl:RAL TAX SUTI',._..         Act
 0 210 Land Condenmation          0 440 Other Civil Rights                       Habeas Corpus:                     0   791 Employee Retirement            0 870 Taxes (U.S. Plaintiff 0 896 Arbitration
 a 220 Foreclosure                0 441 Voting                               0   463 Alien Detainee                         Income Security Act                  or Defendant)         0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment     0 442 Employment                           0   510 Motions to Vacate                                                     0 871 IRS-Third Party             Act/Review or Appeal of
 0 240 Torts to Land             0 443 Housing/                                      Sentence                                                                    26 USC 7609                 Agency Decision
 0 245 Tort Product Liability           Accommodations                       0   530 General                                                                                           0 950 Constitutionality of
 0 290 All Other Real Property   a 445 Amer. w/Disabilities -                0   535 Death Penalty                      . •11>11nJGRATION·
                                                                                                                    ~"'..                                                                    State Statutes
                                        Employment                               Other:                             0 462 Naturalization Application
                                 a 446 Amer. w/Disabilities -                0   540 Mandamus & Other               0 465 Other Immigration
                                        Other                                0   550 Civil Rights                           Actions
                                 0 448 Education                             0   555 Prison Condition
                                                                             0   560 Civil Detainee -
                                                                                     Conditions of
                                                                                     Confinement

f'.     0 R GIN (Place an "X" in One Box Only)
ii( I    Original          0 2 Removed from                        0   3    Remanded from                    04 Reinstated or             0 5 Transferred from             06 Multidistrict                         0 8 Multidistrict
         Prteeding               State Court                                Appellate Court                         Reopened                       Another District              Litigation -                           Litigation -
                                                                                                                                                   (spec!fY)                     Transfer                               Direct File


~AUSE OF ACTION
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              Fair Debt Collection Practices Act - 15 USC Sect. 1692 et sea.
                                             Brief description of cause:
                                              Improper collection efforts regarding credit reporting
VII. REQUESTED IN     0                           CHECK IF THIS IS A CLASS ACTION                                       DEMAND$                                        CHECK YES only 1f demanded m complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                                             JURY DEMAND:
VIII. RELATED CASE(S)
                                                 (See instructions):
                                                                                                                                                                                                              UC I 19 201
      IF ANY                                                                                                                                                   DOCKET NUMBER




    RECEIPT#                     AMOUNT                                                APPL YING IFP                                           JUDGE                             MAG.JUDGE
                                         ]~                                                                                                              '!_: ~j     S 7~
                              Case 2:17-cv-04682-PBT Document 1 Filed 10/19/17 Page 2 of 9
                                                                 UNITED STATES DISTRICT COURT                                             t 'I
FOR THE EASTERN DI                           ENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:   6 Frame Ave, Frazer, PA 19355
AddressofDefendant:53          Perimeter Ctr E, Ste 440, Atlanta, GA 30346
Place of Accident, Incident or Transaction:-SJ<e.-e,._.P,__...la in+t...iff
                                                              .....      ........a.....,d...d...,r..e.,s..s w - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                             (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owni                    re of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))

Does this case involve multidistrict litigation possibilities?
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated: _ _ __ , , , _ . . - ' - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      No!X
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                                YesD      NoiX
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                           YesD       No   IX
4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD       NoiX

CNIL: (Place      t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                       1.   D   Insurance Contract and Other Contracts
 2.    D   PELA                                                                                          2.   D   Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                          3.   D   Assault, Defamation
 4. o Antitrust                                                                                          4.   D   Marine Personal Injury
 5. o Patent                                                                                             5.   D   Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                         6.   D   Other Personal Injury (Please specify)
 7.    D   Civil Rights                                                                                  7.   D   Products Liability
 8. D Habeas Corpus                                                                                      8.   D   Products Liability -      Asbestos
 9.         ecurities Act(s) Cases                                                                       9.   D   All other Diversity Cases
              cial Security Review Cases                                                                          (Please specify)
             ll other Federal Question Cases
                            Fair Debt Collection Practices

                                                                  ARBITRATION CERTIFICATION
                                                   (Check Appropriate Category)
!,._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~counsel of record do hereby certify:
   o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
   o Relief other than monetary damages is sought.



                                                          Attorney-at-Law                                                          Attorney l.D.#
                                         NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.             QCT      19 2017,
I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:          lD(l        ~ ( (1                                                                                                    1lff :Jg
                                                                                                                                     Attorney l.D.#
CN. 609 (5/2012)
              Case 2:17-cv-04682-PBT Document 1 Filed 10/19/17 Page 3 of 9

                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM
Lisa Trotto
                                                                                 CIVIL ACTION

                        v.                                                                      ,l


  Trident Asset Management, LLC
                                                                                 NO.

  In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

  (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )
  (b) Social Security - Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                 ( )
 (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )
 (d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                           ( )
 (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
                                                                                                     ( )


                                                                                                     e
     management cases.)
 (f) Standard Management- Cases that do not fall into any one of the other tracks.


      I b (l '1(r1                (}ah-HL-                         Lisa Trotto
 Date                              Attorn#iaw'::::::::                   Attorney for
                                  267-238-3701                        ag@garibianlaw.com
 215-326-9179

 Telephone                          FAX Number                           E-Mail Address


 (Civ. 660) 10/02




                                                                                  OCT 19 2017
             Case 2:17-cv-04682-PBT Document 1 Filed 10/19/17 Page 4 of 9


                                                                                                  CD
                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA                                 FILED
                                                                                              OCT 19 2017
------------------------------------------------------------------------x
 LISA TROTTO,                                                                           a KATEJlARKMAN, Clerk
                                                                                         Y.    r::c:   _Dep. Clerk
                            Plaintiff,                                      COMPLAINT

                                                                            C.A. No.:



          -against-

 TRIDENT ASSET MANAGEMENT, LLC,

                            Defendant.
------------------------------------------------------------------------x
        Plaintiff Lisa Trotto ("Plaintiff'), by and through her attorneys, Garibian Law Offices,

P.C., as and for her Complaint against Defendant Trident Asset Management, LLC

("Defendant"), respectfully sets forth, complains, and alleges, upon information and belief, the

following:

                                     JURISDICTION AND VENUE

    1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as 15

        U.S.C. § 1692 et seq. The Court also has pendent jurisdiction over the State law claims in

        this action pursuant to 28 U.S.C. § 1367(a).

    2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

        where a substantial part of the events or omissions giving rise to the claim occurred.

    3. Plaintiff brings this action for damages arising from the Defendant's violations of 15

        U.S.C. § 1692 et seq., commonly known as the Fair Debt Collections Practices Act

        ("FDCP A").
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                                         PARTIES

4. Plaintiff is a resident of the Commonwealth of Pennsylvania, County of Chester, residing

    at 6 Frame Avenue, Frazer, PA 19355.

5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6) and

    used in the FDCPA, with an address at 53 Perimeter Ctr E. Ste 440, Atlanta, GA 30346.

6. Defendant was acting as a debt collector with respect to the collection of the Plaintiff's

    alleged debt.

                              FACTUAL ALLEGATIONS

7. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein with the same force and effect as if the same were set forth at

    length herein.

8. On information and belief, on a date better known to Defendant, Defendant began

   collection activities on an alleged consumer debt from Plaintiff ("Alleged Debt").

9. The Alleged Debt was incurred as a financial obligation that was primarily for personal,

   family or household purposes and is therefore a "debt" as that term is defined by 15

   U.S.C. § 1692a(5).

10. Specifically the Alleged Debt was a personal cable and/or cellular bill with the original

   creditor of Verizon, which is defined as a personal obligation and consumer debt under

   the FDCPA.

11. The reporting of a debt to a credit reporting agency by a debt collector is a

   communication covered by the FDCPA, as is the failure to communicate information.

12. Defendant violated the FDCPA is that it did not report that Plaintiff had disputed the

   Alleged Debt.




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13. As explained in Wilhelm v. Credico, Inc., 519 F.3d 416 (8th Cir.2008) - "The relevance

   of the portion of§ 1692e(8) on which [plaintiff] relies-' including the failure to

   communicate that a disputed debt is disputed'-is rooted in the basic fraud law principle

   that, if a debt collector elects to communicate "credit information" about a consumer,

   Defendant violated the FDCPA in that it omitted a piece of information that is always

   material, namely, that the consumer has disputed the Alleged Debt.

14. This interpretation is confirmed by the relevant part of the Federal Trade Commission's

   December 1988 Staff Commentary on the [FDCP A]:



   1. Disputed debt. If a debt collector knows that a debt is disputed by the consumer ... and

   reports it to a credit bureau, he must report it as disputed.



   2. Post-report dispute. When a debt collector learns of a dispute after reporting the debt

   to a credit bureau, the dispute need not also be reported.



   Id. at 418 (emphasis in original) (citing FTC Staff Commentary, 53 Fed.Reg. 50097-02,

   50106(Dec. 13, 1988ll

15. Many district courts have followed Wilhelm, holding that a debt collector who knows that

   a debt is disputed by the Consumer and reports it to a credit bureau must report it as

   disputed. See, e.g., Jacques v. Solomon & Solomon P. C., 2012 U.S. Dist. LEXIS 118092,

   ** 11 (D.Del.2012) (holding that the duty to report a debt under [Section 1692e(8)]

   arises if one elects to report credit information); Edeh v. Aargon Collection Agency,

   LLC, 2011 U.S. Dist. LEXIS 79160, *10-11 (D.Minn.2011) ( "[I]f a debt collector knows




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    or should know that a given debt is disputed, the debt collector must disclose the debt's

    disputed status to persons inquiring about a consumer's credit history"); Benson v. Med-

    Rev Recoveries, Inc. (In re Benson), 445 B.R. 445, 449-50 (Bankr.E.D.Pa.2010); Kine/ v.

    Sherman Acquisition II LP, 2006 U.S. Dist. LEXIS 97073, *57 (S.D.N.Y.2006) ("holding

    that a cause of action under Section 1692e(8) is stated where defendant is alleged to have

    communicated inaccurate information to a third party about a disputed debt); Black v.

    Asset Acceptance, LLC, 2005 U.S. Dist. LEXIS 43264, * 13 (N.D.Ga.2005) (noting that if

    a debt collector reports a consumer debt to a credit bureau under Section 1692e(8), and

    the debt collector knows that the debt is disputed by the consumer, then the debt collector

    must also report that debt as disputed).

16. Here, Defendant reported the Alleged Debt on the Plaintiffs credit report, after

    Defendant knew about Plaintiffs dispute.

17. Plaintiff disputed the Alleged Debt directly with the Defendant with a dispute letter on

    September 15, 2016.

18. Plaintiff examined her credit report again on December 22, 2016 and found that

    Defendant had re-reported the credit account to the bureau(s) in November 2016.

19. When Defendant re-reported the credit account after it received Plaintiffs dispute letter,

   Defendant failed to list the account as "disputed by consumer" despite being required to

   do so under U.S.C. § 1692e(8).

20. As a result of the failure to remove the trade line, or mark same as disputed, Plaintiffs

   credit score suffered and was lowered, which has resulted Plaintiffs in inability to obtain

   credit, less favorable interest rates and may have the result of hindering future

   employment opportunities.




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21. As a result of Defendant's deceptive, misleading and unfair debt collection practices,

    Plaintiff has been damaged.

                              FIRST CAUSE OF ACTION
                               (Violations of the FDCPA)

22. Plaintiff incorporates by reference all of the· above paragraphs of this Complaint as

   though fully state herein with the same force and effect as if the same were set forth at

    length herein.

23. When Defendant re-reported the credit account after it received Plaintiffs dispute letter,

   Defendant failed to list the account as "disputed by consumer" despite being required to

   do so by the FDCPA.

24. As a result of the failure to remove the trade line, or mark same as disputed, Plaintiffs

   credit score suffered and was lowered, which has resulted Plaintiffs in inability to obtain

   credit, less favorable interest rates and may have the result of hindering future

   employment opportunities.

25. Defendant's failure to list the account as "disputed by consumer" despite being required to

   do so by the FDCPA, constituted a violation of various provisions of the FDCPA,

   including but not limited to 15 U.S.C. §§ 1692e(2), 1692e(5), 1692e(8), 1692e(l0) and

   1692f.

26. As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged and

   is entitled to damages in accordance with the FDCPA.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff Lisa Trotto demands judgment against Defendant Trident Asset

Management, LLC. as follows:

       a)       For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(l);

      b)        For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      c)        For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

      d)        For declaratory relief stating that Defendant violated the FDCPA pursuant to 28

               U.S.C. §2201; and

      e)       For any such other and further relief, as well as further costs, expenses and

               disbursements of this action as this Court may deem just and proper.

Dated: October 19, 2017
                                             Respectfully Submitted,

                                             GARIBIAN LAW OFFICES, P.C.

                                               {bg ,!JP-:;_
                                             Antranig Gahlbian, Esq.
                                             PA Bar No. 94538
                                             1800 JFK Boulevard, Suite 300
                                             Philadelphia, PA 19103
                                             ag@garibianlaw.com
                                             Counsel for PlaintiffLisa Trotto




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